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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


     In re:                                                                      Case No. 19-42563
     Import Specialties Incorporated,
                                                                                    Chapter 11 Case

                          Debtor.


                DEBTOR’S MOTION FOR EXPEDITED RELIEF AND ORDER
                     AUTHORIZING USE OF CASH COLLATERAL


  TO:         ALL PARTIES IN INTEREST AND OTHER ENTITIES AS SPECIFIED IN
              LOCAL RULE 9013-3:

         1.        Import Specialties Incorporated (the “Debtor”) by and through its

undersigned attorney, hereby moves this Court for the relief requested below and gives notice

of hearing.

         2.      The court will hold an interim hearing on this motion Wednesday, August 28,

2019, at 1:00 p.m., and will hold a final hearing on September 18, 2019 at 10:00 a.m., in

Courtroom No. 8W of the United States Courthouse at 300 South Fourth Street, 8th Floor,

Minneapolis, Minnesota 55415, before Kathleen H. Sanberg, United States Bankruptcy Chief

Judge.

         3.       The Debtor hereby gives notice that it will not object to the timeliness of any

response to the request for expedited relief that is filed and delivered prior to the interim

hearing. Any response to the request for final order authorizing the use of cash collateral must

be delivered or mailed not later than September 12, 2019, which is five days before the time set

for hearing. UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED, THE
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COURT MAY GRANT THE MOTION WITHOUT A HEARING.

        4.       This court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334, Fed. R. Bankr P. 5005 and Local Rule 1070-1. This proceeding is a core proceeding.

The petition commencing this chapter 11 case was filed August 22, 2019 (the “Petition

Date”). The case is now pending in this court.

        5.       This motion arises under 11 USC § 363, 1107 and 1108 and Fed. R. Bankr.

P. 4001. This motion is filed under Fed. R. Bankr. P. 9006 and 9014 and Local Rules 9006-1

and 9013-1 through 9013-3. Movant seeks authority, on an interim and final basis, for the

use of cash collateral.

        6.      The Debtor remains a debtor in possession under sections 1106 and 1107 of the

Bankruptcy Code.

        7.       No committee of unsecured creditors has been appointed, and no motion for

appointment of a trustee or examiner has been filed in this bankruptcy case.

        8.       Pursuant to section 363 of the Bankruptcy Code, the Debtor seeks authority

to use cash collateral.

        9.       The Debtor is a Minnesota corporation that sells retail goods via the internet

and catalog. The Debtor’s website is: https://www.heartlandamerica.com/

                                      SECURED DEBT

        10.      The Debtor and Charter Bank (the “Bank”) entered into that certain Credit

Agreement and Disclosure dated April 9, 2018 (the “Credit Agreement”).

        11.      Pursuant to the Credit Agreement, the Bank extended a line of credit to the

Debtor, up to a principal amount of $3,000,000 (the “Line of Credit”).

        12.      Payment and performance of all obligations owing or to become owing to the
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Bank by the Debtor (the “Debtor Obligations”), including, without limitation, all obligations

under the Credit Agreement, are secured by a blanket lien on all assets of the Debtor pursuant to

the terms of that certain Commercial Security Agreement dated April 9, 2018, executed and

delivered by the Debtor in favor of the Bank (the “Security Agreement”).

       13.      The Debtor and the Bank also entered into a Business Loan Agreement dated

February 4, 2019 (the “Loan Agreement”).

       14.      Pursuant to and in connection with the Loan Agreement, the Bank loaned the

Debtor the principal sum of $1,000,000 and the Debtor executed and delivered in favor of the

Bank that certain Promissory Note dated February 4, 2019, in the principal amount of

$1,000,000 (the “Term Note”).

       15.      In connection with the Loan Agreement, the Debtor also executed and delivered

to the Bank that certain Commercial Security Agreement dated February 4, 2019 (the “Second

Security Agreement”), which also grants the Bank a security interest in all assets of the Debtor

to secure payment of the Debtor Obligations.

       16.      The Bank perfected its interest under the Security Agreement by filing a UCC-1

financing statement with the office of the Minnesota Secretary of State on April 9, 2018 (Doc.

No. 1011513101020).

       17.      The aggregate outstanding balance owing to the Bank as of the Petition Date

was approximately $3,300,000.00.

          FACTS REGARDING COLLATERAL VALUES AND CASH NEEDS

       18.      The Debtor values its assets as of (a) the Petition Date; (b) the date that is 21

days after the Petition Date; and (c) the date of the proposed ending use of cash collateral, all as

set forth in the Exhibit A attached to the Declaration of Mark R. Platt (the “Declaration”). For
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purposes of Exhibit A, inventory and equipment were valued at their estimated value in an

orderly liquidation.

       19.      The Debtor’s cash needs for the period from August 22, 2019 through

September 18, 2019 are set forth on Exhibit B attached to the Declaration. The expenses set

forth in Exhibit B are limited to those that are required to avoid immediate and irreparable

harm to the estate pending a final hearing on the Motion.

       20.      Debtor’s cash needs for the period from August 22, 2019 through November 3,

2019 are as set forth on Exhibit C attached to the Declaration.

       21.      The Debtor needs to use cash collateral to meet its operating expenses.

                        OFFER OF ADEQUATE PROTECTION

       22.      As and for adequate protection of Charter Bank’s interest in the Collateral:

                (a)     The Debtor will use cash to pay ordinary and necessary business
                        expenses and administrative expenses for the items and in such use
                        will not vary materially from that provided for in Exhibits B and C
                        attached to Debtor’s Declaration, except for variations attributable to
                        expenditures specifically authorized by Court order.

                (b)     The Debtor will grant Charter Bank replacement liens, to the extent of
                        the Debtor’s use of cash collateral, in post-petition inventory,
                        accounts, equipment, and general intangibles, with such liens being of
                        the same priority, dignity, and effect as their respective pre-petition
                        liens.

                (c)     The Debtor will carry insurance on its assets.

                (d)     The Debtor will provide Charter Bank such reports and documents as
                        they may reasonably request.

                (e)     The Debtor will afford Charter Bank the right to inspect Debtor’s
                        books and records and the right to inspect and appraise the Collateral
                        at any time during normal operating hours and upon reasonable notice
                        to the Debtor and its attorneys.

                (f)     The Debtor’s permitted use of cash collateral: (i) the Debtor defaults
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                         in performance of any obligation hereunder; (ii) Charter Bank gives
                         notice of the default to Debtor and its counsel; and (iii) such default
                         not cured within seven business days from the date of receipt of the
                         notice.

                             NEED FOR EXPEDITED RELIEF

       23.       Even a relatively short delay in payment of critical expenses may very well

result in impairment of employee and vendor relations, and the Debtor therefore submits that

expedited relief pursuant to Fed. R. Bankr. P. 4001 and 9006 is warranted.

       24.       Pursuant to Local Rule 9013-2(c), the Debtor gives notice that it may, if

necessary, call Mark R. Platt, the Debtor’s President and Chief Executive Officer, to testify

regarding the facts relevant to this Motion. Mr. Platt’s business address is 8085 Century

Blvd, Chaska, MN 55318.

 WHEREFORE, the Debtor prays for an order of the court as follows:

             a. For an order authorizing use of cash collateral and approving the

                Debtor’s offer of adequate protection on an interim basis;

             b. For an order authorizing use of cash collateral and approving the

                Debtor’s offer of adequate protection on a final basis; and

             c. Granting such other relief as may be just and equitable.



Dated: August 26, 2019                             /e/ John D. Lamey III
                                                   John D. Lamey III, Esq. (#312009)
                                                   LAMEY LAW FIRM, P.A.
                                                   980 Inwood Avenue North
                                                   Oakdale, MN 55128
                                                   Telephone: 651-209-3550 / 651-789-2179 (f)

                                                   Proposed Counsel to the Debtor
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              Exhibit A - Current and Projected Asset Values
Case No. 19-42563
Import Specialities Incorporated
                                               8/18/2019                     9/15/2019                 11/3/2019
Cash                               $                $75,637.00 $                 $127,676.00 $             $191,199.00

Accounts Receivable*               $                              $                                $

Inventory                          $               $290,643.00 $                  $233,011.00 $            $128,408.00


Equipment / Fixed Assets**         $               $500,000.00 $                  $500,000.00 $            $500,000.00

TOTAL                              $               $866,280.00 $                  $860,687.00 $           $819,607.00

* Sales are the accounts receivable and these are built into the projections on Exhibits B and C
**Estimated - This number will stay contact, no sales contemplated
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Heartland America
Weekly Cash Flow Projects
                                                                                EXHIBIT B
                                                        08/11/19 A       08/18/19 A       08/25/19 A           09/01/19 F           09/08/19 F           9/15/19 F
Beginning Cash Balance                              $      260,348       $    75,637      $   126,784      $       51,195       $      116,015       $      127,676
Cash Receipts:
  Heartland -
     Sales                                          $                -   $   100,593      $    75,129      $       39,055       $        43,727      $       74,486
     Cost of sales (Heartland/3rd party financed)   $                -   $         -      $         -      $            -       $       (11,478)     $      (19,553)
  Marketplace (vendor drop ship) -
     Sales                                          $                -   $   140,106      $   111,700      $      117,165       $      131,182       $      138,332
     Cost of sales (7 day payment terms)            $                -   $   (48,758)     $         -      $      (70,299)      $      (78,709)      $      (82,999)
  Backorder release -
     Sales                                          $                -   $         -      $         -      $            -       $            -       $      100,000
     Cost of sales (3rd party financed)             $                -   $         -      $         -      $            -       $            -       $      (60,000)
  List rental revenue receipts                      $                -   $         -      $         -      $            -       $            -       $      112,000
  Memberships                                       $                -   $   102,818      $   233,989      $      129,602       $      343,982       $       94,250
        Total cash receipts, net                    $                -   $   294,759      $   420,818      $      215,522       $      428,704       $      356,516
Disbursements:
  Payroll -
    Salaries and Wages                              $      184,711       $            -   $   173,878      $                -   $      143,877       $               -
    Commissions                                     $            -       $            -   $         -      $                -   $            -       $               -
    Employer Tax                                    $            -       $            -   $         -      $                -   $       13,093       $               -
  Utilities -
    Centerpoint Energy                              $                -   $            -   $         -      $          500       $                -   $               -
    MVEC                                            $                -   $            -   $     7,070      $        6,500       $                -   $               -
    Aspen Waste                                     $                -   $            -   $         -      $          550       $                -   $               -
  Packaging -
    Shippers Supply                                 $                -   $            -   $            -   $                -   $                -   $               -
    Packaging Corporation of America                $                -   $            -   $            -   $                -   $                -   $               -
  Telephone / Internet -
    Airespring                                      $                -   $            -   $     3,929      $                -   $                -   $               -
    OneNet                                          $                -   $            -   $         -      $                -   $                -   $               -
    Marco Equip.                                    $                -   $            -   $    10,419      $                -   $                -   $               -
    CenturyLink (USW001)                            $                -   $            -   $         -      $                -   $                -   $               -
    CenturyLink (USW005)                            $                -   $            -   $         -      $                -   $                -   $               -
  Shipping -
    Postage Drop Ship                               $                -   $            -   $     4,000      $        4,000       $        4,000       $            -
    Terry Enterprises (INBOUND)                     $                -   $            -   $         -      $        5,000       $        5,000       $            -
    Spee Dee - MN DELIVERY                          $                -   $            -   $         -      $        7,500       $            -       $            -
    Newgistics/Pitney Bowes                         $                -   $            -   $         -      $       20,241       $       23,141       $       33,024
  Email -
    Cardinal Commerce                               $                -   $            -   $       425      $            -       $                -   $               -
    Listrak                                         $                -   $            -   $     8,648      $        8,200       $                -   $               -
  Rent - Summerhil                                  $                -   $            -   $            -   $       20,000       $                -   $               -
  Search Advertising -
    Google                                          $                -   $            -   $            -   $                -   $                -   $               -
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Heartland America
Weekly Cash Flow Projects
                                                      08/11/19 A           08/18/19 A           08/25/19 A           09/01/19 F           09/08/19 F           9/15/19 F
    Ebay                                          $                -   $                -   $                -   $            -       $                -   $               -
    Other                                         $                -   $                -   $                -   $        7,500       $                -   $               -
  Catalog -
    Bob Sloane                                    $                -   $            -       $                -   $        2,000       $            -       $               -
    Arandall                                      $                -   $            -       $                -   $       70,000       $            -       $               -
    Postage                                       $                -   $       40,200       $                -   $       85,000       $       75,000       $               -
    PMX                                           $                -   $            -       $                -   $        5,000       $            -       $               -
    List Rental                                   $                -   $            -       $                -   $            -       $            -       $               -
  Facilities / Supplies -
    Huebsch                                       $                -   $                -   $                -   $          300       $            -       $               -
    Aramark                                       $                -   $                -   $                -   $          600       $            -       $               -
    D Lopez                                       $                -   $                -   $                -   $        1,100       $            -       $               -
    Innovative Office Solutions                   $                -   $                -   $                -   $        1,300       $            -       $               -
    Security monitoring                           $                -   $                -   $                -   $            -       $          500       $               -
  Insurance -
     Alerus                                       $                -   $            -       $             -      $                -   $                -   $            -
     Lincoln                                      $                -   $            -       $             -                           $                -   $            -
     Guardian                                     $                -   $            -       $         4,285      $            -       $                -   $            -
     Medica net                                   $                -   $       84,508       $             -      $            -       $                -   $       40,000
     AON                                          $                -   $       13,130       $             -      $            -       $                -   $            -
     Principal (401k remit)                       $                -   $       12,383       $             -      $       12,000       $                -   $            -
  Sales Tax                                       $                -   $                -   $                -   $                -   $                -
  Legal / Accounting -
    Legal                                         $                -   $            -       $                -   $       10,000       $       10,000       $       10,000
    Consulting                                    $                -   $       12,500       $                -   $        6,500       $        6,500       $        6,500
  Refunds -
    Checks                                        $                -   $       45,074       $       28,636       $       35,000       $       35,000       $       25,000
    Credit Card                                   $                -   $       35,747       $       38,924       $       40,000       $       40,000       $       40,000
       Total disbursements                        $      184,711       $      243,542       $      280,214       $      348,791       $      356,111       $      154,524

Financing Activities:
   Charter Bank -
     Interest and fees                            $                -   $           (70)     $          (115)     $      (18,000)      $             -      $         (500)
     Repayment from inventory reduction           $                -   $             -      $             -      $            -       $       (10,932)     $      (18,622)
     Principal                                    $                -   $             -      $      (216,078)     $      216,089       $       (50,000)     $            -
   Short-term funding                             $                -   $             -      $             -      $            -       $             -      $            -
       Total from financing activities            $                -   $           (70)     $      (216,193)     $      198,089       $       (60,932)     $      (19,122)

Ending Cash Balance                               $       75,637       $      126,784       $       51,195       $      116,015       $      127,676       $      310,548


Outstanding Bank Line - Charter                   $     3,331,428      $     3,331,428      $     3,115,350      $     3,331,439      $     3,270,507      $    3,251,886
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Heartland America
Weekly Cash Flow Projects
                                                                                                                                    EXHIBIT C
                                                  08/11/19 A       08/18/19 A        08/25/19 A           09/01/19 F           09/08/19 F           9/15/19 F           9/22/19 F           9/29/19 F           10/6/19 F            10/13/19 F           10/20/19 F           10/27/19           11/3/19 F
Beginning Cash Balance                            $   260,348      $    75,637      $   126,784       $       51,195       $      116,015       $      127,676      $      310,548      $      218,019      $      202,534       $      270,909       $      382,306       $     207,377      $      191,199
Cash Receipts:
 Heartland ‐
   Sales                                          $            ‐   $   100,593      $    75,129       $       39,055       $        43,727      $       74,486      $       64,271      $       81,873      $      100,891       $      116,809       $        87,378      $       84,898     $      112,916
   Cost of sales (Heartland/3rd party financed)   $            ‐   $         ‐      $         ‐       $            ‐       $       (11,478)     $      (19,553)     $      (16,871)     $      (32,238)     $      (39,726)      $      (45,994)      $       (34,405)     $      (33,429)    $      (44,461)
 Marketplace (vendor drop ship) ‐
   Sales                                          $            ‐   $   140,106      $   111,700       $      117,165       $      131,182       $      138,332      $      119,361      $       81,873      $      100,891       $      116,809       $        87,378      $       84,898     $      112,916
   Cost of sales (7 day payment terms)            $            ‐   $   (48,758)     $         ‐       $      (70,299)      $      (78,709)      $      (82,999)     $      (71,616)     $      (49,124)     $      (60,535)      $      (70,086)      $       (52,427)     $      (50,939)    $      (67,750)
 Backorder release ‐
   Sales                                          $            ‐   $         ‐      $         ‐       $            ‐       $            ‐       $      100,000      $      150,000      $      150,000      $            ‐       $            ‐       $            ‐       $           ‐      $            ‐
   Cost of sales (3rd party financed)             $            ‐   $         ‐      $         ‐       $            ‐       $            ‐       $      (60,000)     $      (90,000)     $      (90,000)     $            ‐       $            ‐       $            ‐       $           ‐      $            ‐
 List rental revenue receipts                     $            ‐   $         ‐      $         ‐       $            ‐       $            ‐       $      112,000      $            ‐      $            ‐      $            ‐       $       95,000       $            ‐       $           ‐      $            ‐
 Memberships                                      $            ‐   $   102,818      $   233,989       $      129,602       $      343,982       $       94,250      $      202,353      $      103,569      $      388,126       $       92,009       $      198,900       $      97,328      $      392,928
     Total cash receipts, net                     $            ‐   $   294,759      $   420,818       $      215,522       $      428,704       $      356,516      $      357,497      $      245,954      $      489,647       $      304,549       $      286,824       $     182,757      $      506,550
Disbursements:
 Payroll ‐
   Salaries and Wages                             $   184,711      $            ‐   $   173,878       $                ‐   $      143,877       $               ‐   $      138,954      $               ‐   $      138,955       $                ‐   $      139,000       $              ‐   $      139,000
   Commissions                                    $         ‐      $            ‐   $         ‐       $                ‐   $            ‐       $               ‐   $       15,000      $               ‐   $            ‐       $                ‐   $       15,000       $              ‐   $            ‐
   Employer Tax                                   $         ‐      $            ‐   $         ‐       $                ‐   $       13,093       $               ‐   $       14,010      $               ‐   $       12,645       $                ‐   $       14,014       $              ‐   $       12,649
 Utilities ‐
  Centerpoint Energy                              $            ‐   $            ‐   $         ‐       $          500       $                ‐   $               ‐   $               ‐   $               ‐   $          500       $                ‐   $                ‐   $         500      $               ‐
  MVEC                                            $            ‐   $            ‐   $     7,070       $        6,500       $                ‐   $               ‐   $               ‐   $               ‐   $        6,500       $                ‐   $                ‐   $       6,500      $               ‐
  Aspen Waste                                     $            ‐   $            ‐   $         ‐       $          550       $                ‐   $               ‐   $               ‐   $               ‐   $          550       $                ‐   $                ‐   $         550      $               ‐
 Packaging ‐
  Shippers Supply                                 $            ‐   $            ‐   $             ‐   $                ‐   $                ‐   $               ‐   $        5,000      $               ‐   $               ‐    $        5,000       $                ‐   $              ‐   $        5,000
  Packaging Corporation of America                $            ‐   $            ‐   $             ‐   $                ‐   $                ‐   $               ‐   $        7,500      $               ‐   $               ‐    $        7,500       $                ‐   $              ‐   $        7,500
 Telephone / Internet ‐
  Airespring                                      $            ‐   $            ‐   $     3,929       $                ‐   $                ‐   $               ‐   $               ‐   $            ‐      $               ‐    $                ‐   $                ‐   $           ‐      $               ‐
  OneNet                                          $            ‐   $            ‐   $         ‐       $                ‐   $                ‐   $               ‐   $               ‐   $        5,000      $               ‐    $                ‐   $                ‐   $       5,000      $               ‐
  Marco Equip.                                    $            ‐   $            ‐   $    10,419       $                ‐   $                ‐   $               ‐   $               ‐   $        7,500      $               ‐    $                ‐   $                ‐   $       7,500      $               ‐
  CenturyLink (USW001)                            $            ‐   $            ‐   $         ‐       $                ‐   $                ‐   $               ‐   $               ‐   $       10,000      $               ‐    $                ‐   $                ‐   $           ‐      $               ‐
  CenturyLink (USW005)                            $            ‐   $            ‐   $         ‐       $                ‐   $                ‐   $               ‐   $               ‐   $          970      $               ‐    $                ‐   $                ‐   $           ‐      $               ‐
 Shipping ‐
  Postage Drop Ship                               $            ‐   $            ‐   $     4,000       $        4,000       $        4,000       $            ‐      $        6,000      $        6,000      $        6,000       $        6,000       $        4,000       $       4,000      $        4,000
  Terry Enterprises (INBOUND)                     $            ‐   $            ‐   $         ‐       $        5,000       $        5,000       $            ‐      $        5,000      $        5,000      $        5,000       $        5,000       $        5,000       $       5,000      $        5,000
  Spee Dee ‐ MN DELIVERY                          $            ‐   $            ‐   $         ‐       $        7,500       $            ‐       $            ‐      $        5,000      $            ‐      $        5,000       $            ‐       $        5,000       $           ‐      $        5,000
  Newgistics/Pitney Bowes                         $            ‐   $            ‐   $         ‐       $       20,241       $       23,141       $       33,024      $       22,495      $       19,409      $       25,311       $       30,251       $       23,117       $      22,348      $       31,043
 Email ‐
  Cardinal Commerce                               $            ‐   $            ‐   $       425       $            ‐       $                ‐   $               ‐   $               ‐   $          425      $            ‐       $                ‐   $                ‐   $         425      $            ‐
  Listrak                                         $            ‐   $            ‐   $     8,648       $        8,200       $                ‐   $               ‐   $               ‐   $            ‐      $        8,200       $                ‐   $                ‐   $           ‐      $        8,200
 Rent ‐ Summerhil                                 $            ‐   $            ‐   $             ‐   $       20,000       $                ‐   $               ‐   $               ‐   $       20,000      $               ‐    $                ‐   $                ‐   $              ‐   $       20,000
 Search Advertising ‐
  Google                                          $            ‐   $            ‐   $             ‐   $            ‐       $                ‐   $               ‐   $        4,000      $               ‐   $            ‐       $                ‐   $        4,000       $              ‐   $            ‐
  Ebay                                            $            ‐   $            ‐   $             ‐   $            ‐       $                ‐   $               ‐   $        1,000      $               ‐   $            ‐       $                ‐   $        1,000       $              ‐   $            ‐
  Other                                           $            ‐   $            ‐   $             ‐   $        7,500       $                ‐   $               ‐   $            ‐      $               ‐   $        7,500       $                ‐   $            ‐       $              ‐   $        7,500
 Catalog ‐
  Bob Sloane                                      $            ‐   $         ‐      $             ‐   $        2,000       $            ‐       $               ‐   $        2,000      $            ‐      $            ‐       $                ‐   $        2,000       $           ‐      $            ‐
  Arandall                                        $            ‐   $         ‐      $             ‐   $       70,000       $            ‐       $               ‐   $       70,000      $            ‐      $            ‐       $                ‐   $       94,000       $           ‐      $            ‐
  Postage                                         $            ‐   $    40,200      $             ‐   $       85,000       $       75,000       $               ‐   $       43,000      $       75,000      $       50,000       $                ‐   $       50,000       $      75,000      $       95,000
  PMX                                             $            ‐   $         ‐      $             ‐   $        5,000       $            ‐       $               ‐   $        5,000      $            ‐      $            ‐       $                ‐   $        3,539       $           ‐      $            ‐
  List Rental                                     $            ‐   $         ‐      $             ‐   $            ‐       $            ‐       $               ‐   $            ‐      $            ‐      $            ‐       $                ‐   $       10,500       $           ‐      $            ‐
 Facilities / Supplies ‐
  Huebsch                                         $            ‐   $            ‐   $             ‐   $          300       $                ‐   $               ‐   $               ‐   $               ‐   $          300       $                ‐   $                ‐   $              ‐   $          300
  Aramark                                         $            ‐   $            ‐   $             ‐   $          600       $                ‐   $               ‐   $               ‐   $               ‐   $          600       $                ‐   $                ‐   $              ‐   $          600
  D Lopez                                         $            ‐   $            ‐   $             ‐   $        1,100       $                ‐   $               ‐   $               ‐   $               ‐   $        1,100       $                ‐   $                ‐   $              ‐   $        1,100
  Innovative Office Solutions                     $            ‐   $            ‐   $             ‐   $        1,300       $                ‐   $               ‐   $               ‐   $               ‐   $          500       $                ‐   $                ‐   $              ‐   $          500
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Heartland America
Weekly Cash Flow Projects
                                          08/11/19 A       08/18/19 A        08/25/19 A           09/01/19 F           09/08/19 F           9/15/19 F           9/22/19 F           9/29/19 F           10/6/19 F            10/13/19 F         10/20/19 F           10/27/19           11/3/19 F
   Security monitoring                    $            ‐   $            ‐   $             ‐   $                ‐   $          500       $               ‐   $               ‐   $               ‐   $               ‐    $          300     $                ‐   $              ‐   $               ‐
 Insurance ‐
   Alerus                                 $            ‐   $         ‐      $          ‐      $                ‐   $                ‐   $            ‐      $            ‐      $               ‐   $            ‐       $            ‐     $          160       $              ‐   $               ‐
   Lincoln                                $            ‐   $         ‐      $          ‐                           $                ‐   $            ‐      $            ‐      $               ‐   $        3,000       $            ‐     $            ‐       $              ‐   $               ‐
   Guardian                               $            ‐   $         ‐      $      4,285      $            ‐       $                ‐   $            ‐      $            ‐      $               ‐   $        3,000       $            ‐     $        3,000       $              ‐   $               ‐
   Medica net                             $            ‐   $    84,508      $          ‐      $            ‐       $                ‐   $       40,000      $            ‐      $               ‐   $            ‐       $       40,000     $            ‐       $              ‐   $               ‐
   AON                                    $            ‐   $    13,130      $          ‐      $            ‐       $                ‐   $            ‐      $       15,500      $               ‐   $            ‐       $            ‐     $       15,500       $              ‐   $               ‐
   Principal (401k remit)                 $            ‐   $    12,383      $          ‐      $       12,000       $                ‐   $            ‐      $            ‐      $               ‐   $            ‐       $            ‐     $            ‐       $              ‐   $               ‐
 Sales Tax                                $            ‐   $            ‐   $             ‐   $                ‐   $                ‐
 Legal / Accounting ‐
  Legal                                   $            ‐   $         ‐      $             ‐   $       10,000       $       10,000       $       10,000      $       10,000      $       10,000      $       10,000       $       10,000     $       10,000       $      10,000      $       10,000
  Consulting                              $            ‐   $    12,500      $             ‐   $        6,500       $        6,500       $        6,500      $        6,500      $        6,500      $        6,500       $        6,500     $        6,500       $       6,500      $        6,500
 Refunds ‐
  Checks                                  $            ‐   $    45,074      $    28,636       $       35,000       $       35,000       $       25,000      $       17,500      $       17,500      $       17,500       $       17,500     $       10,000       $      10,000      $       10,000
  Credit Card                             $            ‐   $    35,747      $    38,924       $       40,000       $       40,000       $       40,000      $       40,000      $       40,000      $       40,000       $       40,000     $       25,000       $      25,000      $       25,000
    Total disbursements                   $   184,711      $   243,542      $   280,214       $      348,791       $      356,111       $      154,524      $      433,458      $      223,304      $      348,661       $      168,051     $      440,330       $     178,323      $      393,892

Financing Activities:
  Charter Bank ‐
   Interest and fees                      $            ‐   $       (70)     $       (115)     $      (18,000)      $             ‐      $         (500)     $         (500)     $      (17,900)     $            ‐       $          (500)   $          (500)     $            ‐     $      (17,300)
   Repayment from inventory reduction     $            ‐   $         ‐      $          ‐      $            ‐       $       (10,932)     $      (18,622)     $      (16,068)     $      (20,234)     $      (22,611)      $       (24,601)   $       (20,922)     $      (20,612)    $      (24,115)
   Principal                              $            ‐   $         ‐      $   (216,078)     $      216,089       $       (50,000)     $            ‐      $            ‐      $            ‐      $      (50,000)      $             ‐    $             ‐      $            ‐     $      (50,000)
  Short‐term funding                      $            ‐   $         ‐      $          ‐      $            ‐       $             ‐      $            ‐      $            ‐      $            ‐      $            ‐       $             ‐    $             ‐      $            ‐     $            ‐
    Total from financing activities       $            ‐   $       (70)     $   (216,193)     $      198,089       $       (60,932)     $      (19,122)     $      (16,568)     $      (38,134)     $      (72,611)      $       (25,101)   $       (21,422)     $      (20,612)    $      (91,415)

Ending Cash Balance                       $    75,637      $   126,784      $    51,195       $      116,015       $      127,676       $      310,548      $      218,019      $      202,534      $      270,909       $      382,306     $      207,377       $     191,199      $      212,443


Outstanding Bank Line ‐ Charter           $ 3,331,428      $ 3,331,428      $ 3,115,350       $ 3,331,439          $ 3,270,507          $ 3,251,886         $ 3,235,818         $ 3,215,584         $ 3,142,973          $ 3,118,371        $ 3,097,449          $ 3,076,837        $ 3,002,722
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


     In re:                                                                      Case No. 19-42563
     Import Specialties Incorporated,
                                                                                    Chapter 11 Case
                          Debtor.


             DECLARATION OF MARK R. PLATT IN SUPPORT OF DEBTOR’S
             MOTION FOR EXPEDITED RELIEF AND ORDER AUTHORIZING
                          USE OF CASH COLLATERAL



        1.      I am the president of the Debtor in the above-referenced bankruptcy case. I

make this Unsworn Declaration in Support of the Debtor’s Motion for Expedited Relief and

Order Authorizing Use of Cash Collateral (“Motion”).

        2.      I am familiar with the Debtor’s assets, debts and operations.

        3.      As of August 22, 2019 (“Filing Date”) the Debtor was indebted to Charter Bank

in the approximate amount of $3,300,000.00 in debt secured by, among other things, an interest

in cash collateral.

        4.      The Debtor values its assets as of: (a) the Filing Date; (b) the date of the

beginning of the period of time for which Debtor seeks authorization to use cash collateral

for use of cash collateral; and (c) the date of the end of the period of time for which the

Debtor currently seeks authorization to use cash collateral, all as set forth in Exhibit A

attached hereto.

        5.      The Debtor needs the use of cash collateral to pay operating expenses.

        6.         For the period from August 22, 2019 through September 18, 2019, the Debtor
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA


     In re:                                                                   Case No. 19-42563
     Import Specialties Incorporated                                             Chapter 11 Case

                        Debtor.


  MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR EXPEDITED RELIEF
        AND ORDER AUTHORIZING USE OF CASH COLLATERAL



         Import Specialties Incorporated (“Debtor”) submits this Memorandum of Law in support

of its Motion for Expedited Relief and Order Authorizing Use of Cash Collateral (“Motion”).

                                  I.    STATEMENT OF FACTS

         Debtor relies on the facts set forth in the Motion and incorporates the same herein by

this reference.

                      II.     STATEMENT OF LAW AND DISCUSSION

                                        A. Expedited Relief

       Rule 4001(b)(2) of the Federal Rules of Bankruptcy Procedure provides as follows:

       The court may commence a final hearing on a motion for authorization to use cash
       collateral no earlier than 14 days after service of the motion. If the motion so
       requests, the court may conduct a preliminary hearing before such 14 day period
       expires, but the court may authorize the use of only that amount of cash collateral
       as is necessary to avoid immediate and irreparable harm to the estate pending a final
       hearing.

       RULE 4001-2(b) of the Local Rules of Bankruptcy Procedure provies:

       (b) PRELIMINARY HEARING. If the hearing on a motion for use of cash
       collateral is a preliminary hearing pursuant to Federal Rule of Bankruptcy
       Procedure 4001(b)(2), the Debtor’s separate verified statement shall contain an
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        itemization of the proposed uses of cash collateral that are required to avoid
        immediate and irreparable harm to the estate pending a final hearing on the motion.

        The Debtor has made all of the showings necessary to support its request for expedited

relief. The proposed interim budget provides only for the payment of those expenses as are

necessary to avoid immediate and irreparable harm.

                                       B. Cash Collateral

        Section 363(c)(2) of the Bankruptcy Code provides that a debtor in possession may use

cash collateral only with the secured creditor’s consent or if the court, after notice and a hearing,

so orders. Section 363(e) of the Bankruptcy Code provides that the court must provide the

secured creditor with adequate protection of its interest upon request of the creditor. With respect

to adequate protection:

        In any given case, the bankruptcy court must necessarily (1) establish the value of the

secured creditor’s interest, (2) identify the risks to the secured creditor’s value resulting from the

debtor’s requests for use of cash collateral, and (3) determine whether the debtor’s adequate

protection proposal protects values as nearly as possible against risks to that value consistent

with the concept of indubitable equivalence. In re Martin, 761 F. 2d 472, 476-77 (8th Cir. 1985).

        Based on the facts alleged in the Motion and Debtor’s Declaration, the secured creditors’

interest in the cash collateral is that Debtor will use all of the collateral and not generate

sufficient post-petition collateral to replace the used collateral. Debtor has set forth how the

value of the assets will change, between the Filing Date and the dates through which the Debtor

seeks use of cash collateral. Debtor has further set forth in Debtor’s Declaration, Debtor’s cash

flow projections detailing Debtor’s projections of its operations on an actual cash basis. Pursuant

to Debtor’s projections, the secured creditors’ collateral position does not adversely change

during the period of the proposed use of cash collateral, and, in fact, improvise.
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       Based on the facts and circumstances of this case, under the offer set forth in the Motion,

the secured creditors are adequately protected against any risk that the value of the collateral will

erode during the pendency of this case.

                                         III.   CONCLUSION

       For the foregoing reasons, the Debtor requests that the Court authorize the use of cash

collateral as provided in this Motion.



Dated: August 26, 2019                              /e/ John D. Lamey III
                                                    John D. Lamey III, Esq. (#312009)
                                                    LAMEY LAW FIRM, P.A.
                                                    980 Inwood Avenue North
                                                    Oakdale, MN 55128
                                                    Telephone: 651-209-3550 / 651-789-2179 (f)



                                                    Proposed Counsel to the Debtor
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


    In re:                                                                     Case No. 19-42563
    Import Specialties Incorporated                                               Chapter 11 Case

                        Debtor.


             ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL



        This matter came before the Court on the Debtor’s expedited motion for an order

 authorizing the use of cash collateral. Appearances are noted on the record. Based on the

 arguments of counsel and the documents of record, and the court being fully advised with

 respect to the other relevant facts and information,

            IT IS HEREBY ORDERED:

       1.      The Debtor’s request for expedited relief is granted.

       2.      The debtor is authorized, subject to the terms herein, to use cash collateral in

which Charter Bank has an interest through September 18, 2019.

       3.      The Debtor’s use of cash collateral is subject to the following terms:

       (a)     The Debtor will use cash to pay ordinary and necessary business expenses and
       administrative expenses for the items and such use will not vary materially from that
       provided for in Exhibit B attached to the debtor’s president’s declaration, except for
       variations attributable to expenditures specifically authorized by Court Order.

       (b)     The Debtor will grant Charter Bank replacement liens, to the extent of the
       debtor’s use of cash collateral, in post-petition inventory, accounts, equipment, and
       general intangibles, with such lien being of the same priority, dignity, and effect as their
       respective pre-petition liens.

       (c)     The Debtor will carry insurance on its assets.
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     (d)    The Debtor will provide Charter Bank with such reports and documents as they
     may reasonably request.

     (e)    The Debtor will afford Charter Bank the right to inspect the Debtor’s books and
     records and the right to inspect and appraise any part of their collateral at any time during
     normal operating hours and upon reasonable notice to the Debtor and its attorneys.

     (f)    The Debtor’s permitted use of cash collateral will cease if:

            (i)     The Debtor defaults in performance of any obligation hereunder;
            (ii)    Charter Bank gives notice of such default to the debtor and its counsel;
                    and
            (iii)   Such default is not cured within seven business days from the date of
                    receipt of the notice.




Dated:                                             __________________________________
                                                   Kathleen H. Sanberg
                                                   United States Bankruptcy Judge
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


   In re:                                                                     Case No. 19-42563
   Import Specialties Incorporated                                               Chapter 11 Case

                       Debtor.


                       ORDER FOR USE OF CASH COLLATERAL


       This matter came before the Court on the Debtor’s expedited motion for an order

authorizing the use of cash collateral. Appearances are noted on the record. Based on the

arguments of counsel and the documents of record, and the court being fully advised with

respect to the other relevant facts and information,

           IT IS HEREBY ORDERED:

      1.      The Debtor is authorized, subject to the terms herein, to use cash collateral which

      Charter Bank have an interest through November 3, 2019.

      2.      The Debtor’s use of cash collateral is subject to the following terms:

      (a)     The Debtor will use cash to pay ordinary and necessary business expenses and
      administrative expenses for the items and such use will not vary materially from that
      provided for in Exhibit B attached to the debtor’s president’s declaration, except for
      variations attributable to expenditures specifically authorized by Court Order.

      (b)     The Debtor will grant Charter Bank replacement liens, to the extent of the
      debtor’s use of cash collateral, in post-petition inventory, accounts, equipment, and
      general intangibles, with such lien being of the same priority, dignity, and effect as their
      respective pre-petition liens.

      (c)     The Debtor will carry insurance on its assets.

      (d)    The Debtor will provide Charter Bank with such reports and documents as they
      may reasonably request.
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     (e)    The Debtor will afford Charter Bank the right to inspect the Debtor’s books and
     records and the right to inspect and appraise any part of their collateral at any time during
     normal operating hours and upon reasonable notice to the Debtor and its attorneys.

     (f)    The Debtor’s permitted use of cash collateral will cease if:

            (i)     The Debtor defaults in performance of any obligation hereunder;
            (ii)    Charter Bank gives notice of such default to the debtor and its counsel;
                    and
            (iii)   Such default is not cured within seven business days from the date of
                    receipt of the notice.


Dated:                                             __________________________________
                                                   Kathleen H. Sanberg
                                                   United States Bankruptcy Judge
